The Attorney General is in receipt of your correspondence of March 15, 1979, wherein you ask, in effect, the following question: "Does the 'blanket bond' for the employees of the State of Oklahoma as required by 74 O.S. 85.29 [74-85.29] (1974), provide bond coverage for employees of the colleges and universities under the supervision of the Board of Regents for the Oklahoma State University and the Agricultural and Mechanical Colleges in the amount of $50,000 or $10,000 ?" By statute, 74 O.S. 85.26 [74-85.26] (1974), the Central Purchasing Division of the State Board of Public Affairs is directed to purchase a surety contract known as a "blanket bond" to cover all employees of the State of Oklahoma. Pursuant to 74 O.S. 85.26 [74-85.26], a security contract was acquired in 1974 from the lowest bidder, Transamerica Insurance Company, for a three-year period of time. The initial bond provided under Item 4 (19) coverage in the amount of $50,000 for "all employees of Board of Regents, Universities, Colleges." Upon the expiration of the original blanket bond, the Central Purchasing Office acquired a new "blanket bond" from Aetna Insurance Company, which was the low bidder. The new bond provides coverage in the amount of $50,000 for "Board of Regents-Colleges, Universities". The Aetna Insurance Company bond also provides for coverage in the amount of $10,000 for "All Other State Departments, Agencies, Institutions, Commissions, Authorities, and other bodies of state government." It appears from the wording of your letter that you are concerned as to whether the employees of your constituent colleges and universities are covered under the $50,000 bond provisions or under the $10,000 bond provision.  The Board of Regents for the Oklahoma State University and Agricultural and Mechanical Colleges consists of nine members that are appointed by the Governor with the consent of the Senate, 70 O.S. 3507 [70-3507] (1971). Without question the surety contract presently in force with the State of Oklahoma provides $50,000 worth of coverage for the members of your Board of Regents. It does not, however, expressly or impliedly include employees of the Board of Regents or of any of the Regents' constituent colleges and universities. The employees of the Board of Regents and the colleges and universities are covered under the separate bonding provisions above cited relating to all other State employees in the amount of $10,000. There is, of course, nothing improper with respects to this differentiation between the Regents as a bondable group and their employees as a separate bondable group since the language of the presently existing blanket bond tracks exactly the language of the authorizing legislation. 74 O.S. 85.29 [74-85.29] (1974). While it may have been that the original blanket bond entered into by Transamerica Insurance Company with the State of Oklahoma in July of 1974 provided coverage in the amount of $50,000 for all employees of the Board, its constituent universities and colleges, there is nothing in the statute which requires such additional coverage for these employees.  Therefore, it is the opinion of the Attorney General that the Regents for the Oklahoma State University and Agricultural and Mechanical Colleges are covered under the blanket bond in the amount of $50,000 and that all employees of the Board of Regents and its constituent colleges and universities are covered under the provisions of the blanket bond relating to other employees in the amount of $10,000.  (JOHN C. PERCIVAL) (ksg)